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   8                        UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
   9
                                 WESTERN DIVISION
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  11   JANE DOE NOS. 1-10,                      Case No. 2:20-CV-10713-MWF(RAOx)
  12                   Plaintiffs,              PRELIMINARY INJUNCTION
  13         v.
  14
  15   DANIEL S. FITZGERALD
  16                   Defendant.
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  21        After consideration of Plaintiffs Jane Doe Nos. 1-10’s Ex Parte Application
  22 for a Temporary Restraining Order and Preliminary Injunction against Defendant
  23 Daniel S. Fitzgerald (Docket No. 58), the Court denied Plaintiffs’ request for a TRO
  24 but issued an Order to Show Cause to Defendant regarding a preliminary injunction.
  25 Defendant Fitzgerald filed his Opposition to the Order to Show Cause (Docket No.
  26 68), and Plaintiffs filed a Reply (Docket No. 70).
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   1         After consideration of all papers filed herein, the records of the case, the
   2 arguments at the hearing on October 26, 2021, and pursuant to Rule 65(d) of the
   3 Federal Rules of Civil Procedure,
   4         The Court FINDS that Defendant Daniel S. Fitzgerald, or someone acting at
   5 his express direction, created YouTube videos, created social media accounts, and
   6 circulated copies of a flyer throughout Cabo, Mexico that, collectively, identified
   7 Jane Doe Nos. 4-6 and made disparaging attacks on their character and reputation.
   8         The Court further FINDS that his motivation for doing so was not to collect
   9 information relevant to this action but to harass and impugn Jane Does from
  10 exercising their litigation rights and dissuading other victims from coming forward.
  11         The Court further FINDS that Defendant Daniel S. Fitzgerald harassed and
  12 threatened Jane Doe No. 5 and her family in Cabo, Mexico.
  13         Now, therefore, Defendant Daniel S. Fitzgerald and his agents, servants,
  14 employees and attorneys, and other persons who are in active concert or
  15 participation with them who receive notice of this Preliminary Injunction by
  16 personal service or otherwise, are hereby ORDERED and ENJOINED as follows
  17 during the pendency of this litigation:
  18         1.    From publishing, posting, or otherwise publicly circulating information
  19 that personally identifies Plaintiffs, either by name or description.
  20         2.    From directly or indirectly making any harassing or threatening
  21 communications to anyone directly connected with this lawsuit, including but not
  22 limited to Jane Doe Nos. 1-10, or any lawyers representing Jane Doe Nos. 1-10.
  23         3.    From maintaining less than 100 feet of physical distance between
  24 himself and any Jane Doe, except during a court hearing, deposition, mediation, or
  25 other event in this litigation.
  26         4.    From performing any of these actions through another person or by use
  27 of a subterfuge.
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   1        5.     Defendant Daniel S. Fitzgerald is ORDERED to remove the video
   2 identified in the record from YouTube and to remove any similar videos from any
   3 social media platform. Defendant Daniel S. Fitzgerald is likewise ORDERED to
   4 deactivate the social media or email accounts identified in the video.
   5        This Preliminary Injunction shall not be construed to prohibit
   6 communications between the counsel of record for the parties.
   7        IT IS SO ORDERED.
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   9 Dated: October 28, 2021          ______________________________
                                           MICHAEL W. FITZGERALD
  10                                       United States District Judge
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